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                   EX. 130
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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

ARKANSAS TEACHER RETIREMENT SYSTEM,                     )
on behalf of itself and all others similarly situated   )
                                                        ) No. 1l-cv-10230 MLW
Plaintiffs,                                             )
                                                        )
V.                                                      )
                                                        )
STATE STREET BANK AND TRUST COMPANY,                    )
                                                        )
Defendant                                               )
- - - - - - - - -- - - - -- - - )
ARNOLD HENRIQUEZ, MICHAEL T. COHN,       )
WILLIAM R. TAYLOR, RICHARD A. SUTHERLAND )
and those similarly situated,                           ) No. 1l-cv-12049 MLW
                                                        )
v.                                                      )
                                                        )
STATE STREET BANK AND TRUST COMPANY,                    )
STATE STREET GLOBAL MARKETS, LLC and                    )
DOES 1-20                                               )
                                                        )
Defendants.                                             )
- - - -- -- - -- - -- -- - - )
THE ANDOVER COMPANIES EMPLOYEES SAVINGS)
AND PROFIT SHARING PLAN, on behalf of itself and )
JAMES PEHOUSHEK-STRANGELAND, and all others )
similarly situated,                              )
                                                 ) No. 11-cv-11698 MLW
v.                                               )
                                                 )
STATE STREET BANK AND TRUST COMPANY,             )
                                                 )
Defendant.                                       )
- - - - -- - - -- -- -- -- - )


                          DECLARATION OF GEORGE HOPKINS




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            I. George Hopkins. hereby declare under penalty of perjury:

            I.     Since December 29, 2008, I have served as Executive Director of the Arkansas

 Teacher Retirement System (..ATRS ..). I am also a lawyer, and I understand the importance of a

 sworn declaration.

         2.        ATRS is the class representative in the above-captioned matter.

         3.        At all times during this matter. in ATRS' role as class representative I have been

 the primary contact between ATRS and attorneys for Labaton Sucharow ("Labaton..) who

 represent ATRS. The majority of my communication with Labaton has been through Labaton

 partner Eric Belfi.

        4.        Labaton has done an outstanding job representing ATRS in this matter. I am very

 pleased with the result that Labaton helped obtain for the class. Personally, I am not aware of

 another law firm that could have worked as tenaciously or produced as good a result on behalf of

 the class as Labaton did.

        5.        Labaton has also represented ATRS in several other matters. In my opinion,

Labaton's attorneys are talented and hard-working.

        6.        The fee awarded by the Court to the attorneys representing the class in this matter,

including Labaton, was about 25% of the total $300 million settlement fund. Given the excellent

result that Labaton helped obtain in this case, and Labaton's exceptional work representing the

class throughout this case, J believe that 25% of the total settlement fund was a fair and

reasonable fee award. I strongly believe that Labaton earned it.

       7.        I myself was not aware of Labaton's fee-sharing agreement with the Chargois &

Herron law firm, or with Damon Chargois, until approximately August or September 2017.




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       8.      I now understand that Labaton has had a fee-sharing agreement with Chargois &

Herron for a number of years. I understand that, according to this agreement, Chargois & I Ierron

believes that it is entitled to up to 20% of any fee Labaton earns as class counsel when

representing A TRS as named Plaintiff. I further understand that this agreement was reached

between Labaton and Chargois & Herron largely because attorneys at Chargois & Herron

facilitated an introduction between A TRS and Labaton. This occurred prior to my service as

Executive Director of ATRS.

       9.      I understand that, in the context of this matter, the "Customer Class Law Firms·• -

Labaton and the two other finns representing the "Customer Class," Lieff Cabraser Heimann &

Bernstein, LLP and the Thornton Law Firm LLP - agreed that the three finns would fund from

their respective fee awards Chargois & Herron's portion of the fee, equivalent to 5.5% of the

total fee award, rather than Labaton paying 20% of its portion of the fee. I understand that, as a

result of this agreement, Chargois & Herron received $4.1 million in connection with this matter.

        10.    In the past, Eric Belfi expressly offered to discuss with me how the plaintiffs'

lawyers divide up the attorneys' fees awarded by the court. I told Mr. Belfi that I did not want to

know the specifics of fee allocations between Labaton and other attorneys. I also told Mr. Belfi

that if I ever wanted to know the details of Labaton's fee-sharing agreements, I would ask him.

Those were my instructions, and I believe that a lawyer should follow the client' s instructions.

        11.    My primary focus was, and has been, the amount awarded to the class, and the

aggregate amount of attorney's fees. Once the aggregate attorney's fee award has been

established by the Court, I am not concerned with how that aggregate fee is distributed among

lawyers or law finns, because - in my view - those distributions do not affect the class.




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         12.    Moreover. I have no interest in becoming a referee between various law firms.

including local counsel. I believe that my knowledge of and involvement with fee agreements

between attorneys would inevitably distract from my focus, which is protecting the class.

         13.    My time on this matter was extensive, and it was appropriately spent on staying

very involved, including throughout the lengthy mediation process, in matters that helped protect

the interests of the class.

         14.    Because of my instructions to Mr. Belfi regarding my desire not to know or

otherwise be involved with the specifics of Labaton's fee agreements, I do not fee l misled by the

fact that I was unaware of Labaton's agreement with Chargois & Herron. In fact, I believe that

Mr. Belfi and Labaton were followi ng my express instructions.

        15.     In my view, this payment had no effect on the interests of the class. Moreover,

because Labaton believed that it had an obligation to share its fee with Chargois & Herron, I

understand that the Labaton lawyers would feel the need to fulfill that obligation. Although I'm

sorry to see Labaton and the other Customer Class Law Firms lose any portion of their own fee, I

do not object to the $4.1 million payment, paid by the Customer Class Law Firms from their own

fee award, to Chargois & Herron in this matter.

        16.     Given my clear instructions to Mr. Belfi, I have no problem with the fact that the

details of Labaton's agreement with, and payment to, Chargois & Herron were not explained to

me.    I am now aware of that specific agreement, the parameters of which I describe above.

now ratify that agreement, with fu ll knowledge of it.

        17.    I am ratifying Labaton's fee-sharing agreement with Chargois & Herron because I

do not object to it. My ratification of Labaton' s agreement with Chargois & Herron is not a

result of pressure from anybody, nor is it a result of any desire to avoid: inconvenience in


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obtaining new counsel; alienating ATRS' current counsel; any change in the quality of ATRs·

representation in this matter; ATRS' position in this matter being affected; or any other reason.

      I declare under the pains and penalties of perjury under the laws of the United States of
                                                                                            •~
America and the State of Arkansas that the foregoing is true and correct. Executed this   JS day of
March, 2018 in Little Rock, Arkansas.




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